          Case 5:12-cv-01735-CLS Document 22 Filed 07/08/13 Page 1 of 1                      FILED
                                                                                     2013 Jul-08 AM 10:29
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                           NORTHEASTERN DIVISION

RICHARD SALAZAR,                                  )
                                                  )
      Plaintiff,                                  )
                                                  )
vs.                                               )   Civil Action No. CV-12-S-1735-NE
                                                  )
WELLS FARGO BANK,                                 )
NATIONAL ASSOCIATION,                             )
and FEDERAL HOME LOAN                             )
MORTGAGE CORPORATION,                             )
                                                  )
      Defendants.                                 )

                                            ORDER

      The court having received notification that all issues between plaintiff and

defendants have been resolved in mediation,1 it is ORDERED that all claims be

DISMISSED with prejudice, but upon this condition: if plaintiff does not receive the

full proceeds of settlement within a reasonable period of time, not to exceed 45 days

from this date, he may petition the court to reinstate this action, and such

reinstatement shall relate back to the original date of filing. The clerk is directed to

close this file. Costs are taxed as paid.

      DONE and ORDERED this 8th day of July, 2013.


                                                      ______________________________
                                                      United States District Judge

      1
          See doc. no. 21 (Report of Mediator).
